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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                ALEXANDRIA DIVISION

KENNETH L PEREGO II ET AL                              CASE NO. 1:16cv0630

VERSUS                                                 CHIEF JUDGE DRELL

ACADIA HEALTHCARE CO INC                               MAGISTRATE JUDGE PEREZ-MONTES

                               FIRST AMENDED COMPLAINT

       Plaintiff, KENNETH L. PEREGO, II, appearing individually and as the natural tutor of his

minor son, KENNETH L. PEREGO, III and WENDY PEREGO, who respectfully desires to

amend and supplement their original Petition for Damages (Doc. 1, Exhibit 1) as follows:

                                                 A.

       Plaintiffs hereby amend and supplement Paragraph 1 of the Petition for Damages, such that

the entirety now reads as follows:

                                                 “1.

       The defendant in this action is CROSSROADS REGIONAL HOSPITAL, LLC OF

LOUISIANA d/b/a Longleaf Hospital (“Crossroads”), a foreign limited liability company whose

sole member is Acadia Healthcare Company, Inc.”


                                                 B.

       Plaintiffs re-allege and reiterate all of the allegations and prayers of their original Petition

and adopt said allegations and prayers herein by reference thereto as though fully set forth herein.

                                                 C.

       In accordance with Rule 15(a)(1) of the Federal Rules of Civil Procedure, amendment is

allowed as a matter of course and no leave of court or opposing party consent is required.
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                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, KENNETH L. PEREGO, II, individually and as natural tutor of

his minor son, KENNETH L. PEREGO, III and WENDY PEREGO, pray:

   A. That service of this First Amended Complaint be made upon defendant through counsel of

      record pursuant to Federal Rule of Civil Procedure 5;

   B. That after due proceedings had there be judgment herein in favor of Plaintiffs for all

      damages described, together with all costs and judicial interest; and

   C. For all just, general and equitable relief.


                                              Respectfully submitted,

                                              FAIRCLOTH, MELTON & SOBEL, LLC

                                              By: ______/s/ Brook L. Villa__________________
                                              Jimmy R. Faircloth, Jr.     La. Bar Roll #20645
                                              Lauren Stokes Laborde       La. Bar Roll #32180
                                              jfaircloth@fairclothlaw.com
                                              llaborde@fairclothlaw.com
                                              105 Yorktown Drive
                                              Alexandria, LA 71303
                                              Phone (318) 619-7755
                                              Fax (318) 619-7744

                                              Brook L. Villa                  La. Bar Roll #31988
                                              bvilla@fairclothlaw.com
                                              301 Main St., Ste. 920
                                              Baton Rouge, LA 70801
                                              Phone (225) 343-9535
                                              Fax (225) 343-9538
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I presented the above and foregoing First Amended Complaint

for filing and uploading to the CM/ECF system which will send electronic notification of such

filing to all counsel of record.

                        Baton Rouge, Louisiana, this 16th day of May, 2016.


                              ________/s/ Brook L. Villa___________
                                          OF COUNSEL
